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                                                                                                SEP 24 2020
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              DANVILLE DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )        Criminal Action No. 4:12cr00023
v.                                                )
                                                  )        By: Hon. Michael F. Urbanski
CHRISTIAN OMAR BELTRAN,                           )        Chief United States District Judge
                                                  )
                Defendant.                        )

                                  MEMORANDUM OPINION

        This matter comes before the court on Defendant Christian Omar Beltran’s motion

for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A), ECF No. 123. The

government opposes Beltran’s motion, ECF No. 127. Because he has not demonstrated that

extraordinary and compelling reasons exist to warrant his release, the court will DENY

Beltran’s motion.

                                                      I.

        On February 19, 2013, a jury found Beltran guilty of all three counts in his indictment:

conspiracy to distribute marijuana, in violation of 21 U.S.C. §§ 846 & 841(b)(1)(A); possession

of marijuana with intent to distribute, in violation of 21 U.S.C. §§ 841(a)(1) & 841(b)(1)(C);

and possession of a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C.

§ 924(c). See ECF Nos. 3 (indictment) & 55 (jury verdict form). Beltran was sentenced to a

total term of incarceration of 168 months.1 ECF No. 66. Beltran appealed, but his conviction

and sentence were affirmed. United States v. Beltran, 550 F. App’x 141 (4th Cir. 2013) (per



1Beltran’s sentence consisted of 108 months on each of counts 1 and 2, to run concurrently to each other, and
60 months on count 3, to run consecutively to counts 1 and 2.
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curiam) (unpublished). Beltran is currently housed at FMC Butner and has a projected release

date of August 22, 2023. On June 1, 2020, Beltran submitted a compassionate release request

to the warden; it was denied on June 8, 2020, ECF No. 123-1. There is no indication that he

appealed the warden’s decision through any appeals process.

       On July 27, 2020, Beltran, represented by counsel, filed a motion seeking

compassionate release in this district due to the COVID-19 pandemic, ECF No. 123. Beltran

states that his fear of contracting COVID-19, coupled with the current state of affairs at FMC

Butner, is grounds to release him from confinement.

                                              II.

       In general, a “court may not modify the term of imprisonment once it has been

imposed.” 18 U.S.C. § 3582(c). However, the compassionate release statute, as amended by

the First Step Act, creates an exception to this rule and authorizes courts to modify terms of

imprisonment as follows:

              The court may not modify a term of imprisonment once it has
              been imposed except that—in any case—the court, upon motion
              of the Director of the Bureau of Prisons, or upon motion of the
              defendant after the defendant has fully exhausted all
              administrative rights to appeal a failure of the Bureau of Prisons
              to bring a motion on the defendant’s behalf or the lapse of 30
              days from the receipt of such a request by the warden of the
              defendant’s facility, whichever is earlier, may reduce the term of
              imprisonment (and may impose a term of probation or
              supervised release with or without conditions that does not
              exceed the unserved portion of the original term of
              imprisonment), after considering the factors set forth in section
              3553(a) to the extent that they are applicable, if it finds that—

              (i) extraordinary and compelling reasons warrant such a reduction
              . . . and that such a reduction is consistent with applicable policy
              statements issued by the Sentencing Commission.


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18 U.S.C. § 3582(c)(1)(A) (2020). Accordingly, Beltran’s requested relief requires the court to

consider: (1) if he exhausted his administrative remedies; (2) if so, whether there are

extraordinary and compelling reasons that warrant a reduction in his sentence and if such a

reduction is consistent with applicable policy statements issued by the Sentencing

Commission; and (3) if so, if the factors set forth in 18 U.S.C. § 3553(a) weigh in favor of a

sentence reduction.

   i.      The government has waived the exhaustion requirement.

        The provision allowing defendants, in addition to the Bureau of Prisons (“BOP”), to

bring motions under § 3582(c) was added by the First Step Act to “increas[e] the use and

transparency of compassionate release.” Pub. L. No. 115-391, 132 Stat. 5239 (2018). While the

statute allows a defendant to bring the motion before the district court, the defendant must

first exhaust his administrative remedies. See 18 U.S.C. § 3582(c)(1)(A). A defendant must

satisfy one of two conditions, whichever is earlier: (i) “the defendant has fully exhausted all

administrative rights to appeal a failure of the [BOP] to bring a motion on the defendant’s

behalf,” or (ii) “the lapse of 30 days from the receipt of such a request by the warden of the

defendant’s facility[.]” Id. The first condition requires that the defendant fully exhaust all

administrative rights; this means that it is not enough for the warden to respond within thirty

days by denying the request for compassionate release. If the warden denies the request within

thirty days, the defendant must then exhaust all administrative appeals available through the

BOP. The second condition can only be met after the lapse of thirty days from when the

warden received the defendant’s request and has not responded.




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       Here, Beltran argues that he exhausted his administrative remedies because he made a

written request for compassionate release to the warden on June 1, 2020, and received a denial

from the warden on June 8, stating that he was denied because his “concern about being

potentially exposed to, or possibly contracting COVID-19, is not sufficient grounds for

expediting [his] RRC/HC referral outside of the normal timeframes or recommending more

time than would ordinarily be recommended.” ECF No. 123-1. Beltran contends that he has,

therefore, exhausted his administrative remedies. The court disagrees. Beltran ignores the

closing paragraph of his denial: “If you are dissatisfied with this response, you may appeal to

the Regional Director, Federal Bureau of Prisons . . . . Your appeal must be received in the

Regional Office within 20 calendar days from the date of this response.” ECF No. 123-1.

Accordingly, Beltran has not exhausted his administrative remedies as he has not shown that

he appealed as instructed, or than any such appeal was denied. See 18 U.S.C. § 3582(c)(1)(A)

(noting that a defendant may only bring a motion in the district court after he has “fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a

motion on the defendant’s behalf”).

       This court has previously found that the exhaustion requirement does not operate as a

jurisdictional bar under § 3582(c)(1)(A). See United States v. Crawford, No. 2:03-cr-10084,

2020 WL 2537507, at *1, n.1 (W.D. Va. May 19, 2020); see also United States v. Russo, No.

16-cr-441 (LJL), 2020 WL 1862294, at *5 (S.D.N.Y. Apr. 14, 2020). Because the exhaustion

requirement is not jurisdictional, it operates as a claims-processing rule and can be waived. See

e.g., Crawford, 2020 WL 2537507, at *1 (finding that the exhaustion requirement has been

waived where the government failed to raise exhaustion as a ground for denying the motion);


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Russo, 2020 WL 1862294, at *5 (“[O]ne key consequence of [§ 3582(c)(1)(A)] not being

jurisdictional is that the Government can waive the affirmative defense of exhaustion.”); see

also United States v. Alam, No. 20-1298, 2020 WL 2845694, at *2 (6th Cir. June 2, 2020)

(holding that the exhaustion requirement is a mandatory claims-processing rule that has two

exceptions: waiver and forfeiture) (citing United States v. Cotton, 535 U.S. 625, 630 (2002)).

In its brief in opposition, the government conceded that Beltran had exhausted his

administrative remedies. See ECF No. 127, at 3. Therefore, the court finds that the

government has waived the exhaustion requirement.

   ii.      Beltran does not present extraordinary and compelling reasons to warrant a
            sentence reduction.

         Because the government has waived the exhaustion requirement, the court must then

consider whether extraordinary and compelling reasons warrant a reduction in the term of

Beltran’s imprisonment. See 18 U.S.C. § 3582(c)(1)(A); USSG § 1B1.13. The United States

Sentencing Guidelines (USSG) § 1B1.13 (the “Policy Statement”) application notes state that

“extraordinary and compelling reasons” exist where (A) the defendant is suffering from a

terminal or serious medical condition; (B) the defendant is over 65 years old, has failing health,

and has served at least ten years or 75 percent of his sentence, whichever is less; (C) the

caregiver of the defendant’s minor child dies or becomes incapacitated, or the defendant’s

spouse or partner becomes incapacitated and the defendant is the only available caregiver; or

(D) as determined by the Director of the BOP, for “other reasons” other than, or in

combination with, the reasons described in Application Notes (A)-(C). Id., at cmt. n. 1(A)-

(D).



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       Beltran has failed to show “extraordinary and compelling reasons” justifying the relief

he seeks. See United States v. McMillan, No. 7:08-cr-31, 2020 WL 3213399, at *2 (W.D. Va.

June 15, 2020) (“A defendant seeking relief under § 3582(c)(1)(A) has the burden of

establishing that compassionate release is warranted.”) (internal citations omitted). “In the

context of the COVID-19 outbreak, courts have found extraordinary and compelling reasons

for compassionate release when an inmate shows both a particularized susceptibility to the

disease and a particularized risk of contracting the disease at his prison facility.” United States

v. Harper, No. 7:18-cr-25, 2020 WL 2046381, at *3 (W.D. Va. Apr. 28, 2020) (citing United

States v. Feiling, No. 3:19-cr-112, 2020 WL 1821457, at *7 (E.D. Va. Apr. 10, 2020)). Beltran

argues that that extraordinary and compelling reasons warrant a reduction in his sentence

based on his fear on contracting COVID-19. However, “the mere existence of COVID-19 in

society . . . cannot independently justify compassionate release.” United States v. Raia, 954

F.3d 594, 597 (3rd Cir. 2020). Beltran has pointed to no factors—unique to him—that make

him particularly susceptible to the disease or which increase his risk of complications from the

disease should be contract it. Absent any such showing, Beltran has failed to establish any

basis for the relief he seeks.

       Because Beltran has failed to show “extraordinary and compelling reasons” justifying

his release from custody, the court need not consider the factors set forth in 18 U.S.C.

§ 3553(a). Beltran’s request for compassionate release will be denied.

                                               III.

       For the reasons stated herein, the court DENIES Beltran’s motion for compassionate

release, ECF No. 123. The clerk is directed to send a copy of this memorandum opinion and


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accompanying order to the defendant, his counsel of record, and the United States. An

appropriate order will be entered.

       It is so ORDERED.

                                       Entered:    September 23, 2020

                                                          Michael F. Urbanski
                                                          Chief U.S. District Judge
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                                       Chief United States District Judge




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